











	


             


NUMBER 13-08-00456-CR


COURT OF APPEALS


THIRTEENTH DISTRICT OF TEXAS


CORPUS CHRISTI - EDINBURG 

                                                                                                                      


NATHANIEL OTTO,	 							Appellant,


v.


THE STATE OF TEXAS, 							  Appellee.

                                                                                                                      




On appeal from the 117th District Court of 


Nueces County, Texas.

                                                                                                                       


MEMORANDUM OPINION


Before Chief Justice Valdez and Justices Yañez and Garza

Memorandum Opinion by Justice Yañez

	Appellant, Nathaniel Otto, was convicted of two counts of aggravated sexual assault
of a child (1) (counts one and two), one count of sexual assault of a child (2) (count three), and
two counts of prohibited sexual conduct (3) (counts four and five).  Otto received three
sentences of twenty years' confinement for counts one, two, and three and two sentences
of ten years' confinement for counts four and five, with all five sentences running
concurrently.  By ten issues, Otto claims that the evidence is legally and factually insufficient
to support his conviction.  We affirm.

I.  Background

	A.O., Otto's sister, made allegations that he sexually abused her.  Otto was then
charged with two counts of aggravated sexual assault occurring on or about July 1, 2000
and July 1, 2001; one count of sexual assault of a child occurring on or about October 21,
2002; and two counts of prohibited sexual contact occurring on or about October 21, 2002
and December 1, 2005. (4)  Specifically, the State alleged that Otto committed the two counts
of aggravated sexual assault of a child by intentionally or knowingly causing A.O.'s sexual
organ to contact Otto's sexual organ when A.O. was younger than fourteen years old.  The
State alleged that Otto committed sexual assault of a child by intentionally and knowingly
causing A.O.'s sexual organ to contact Otto's sexual organ when A.O. was younger than
seventeen years old.  Finally, the State alleged that Otto committed two counts of the
offense of prohibited sexual conduct by engaging in sexual intercourse with A.O., a person
he knew to be his sister.  After a trial, the jury found appellant guilty of all five counts.  Otto
was sentenced to twenty years' confinement for each count of aggravated sexual assault
of a child and sexual assault of a child and to ten years' confinement for each count of
prohibited sexual conduct.  This appeal followed.

II.  The Evidence

A.  Corina Benavides

	Corina Benavides, a social worker at Driscoll Children's Hospital ("Driscoll"), testified
that A.O. went to the emergency room at Driscoll for a suicide attempt and depression. 
A.O. was eighteen at the time.  Benavides stated that her duties include taking an initial
assessment of any child that comes into the hospital for issues concerning abuse, neglect,
depression, or mental health. (5)  Benavides testified that A.O. told her that she had been
"sexually abused" by Otto on a regular basis from the age of five.  According to Benavides,
A.O. told her that the "sexual abuse" had been "consistent up until about a month or two
prior to her suicide attempt" and that "the abuse was violent in the sense that [Otto] would
be physically aggressive during their sexual acts."  Benavides testified that A.O. explained
that Otto would "hold her down" and "penetrate her vaginally."  Benavides stated that A.O.
told her that Otto would forcibly have sex with A.O. on many occasions and that he
threatened to "beat her up" if she told anyone about the "sexual abuse."  Benavides
described A.O. as being terrified and scared of Otto's reaction and stated that by the end
of her interview, A.O. was upset and tearful.

	On cross-examination, Benavides stated that A.O. told her that she never reported
the alleged abuse to her parents.  According to Benavides, A.O.'s parents reported that
A.O. had hallucinations and her mother, Caroline Otto, stated that she was "concerned"
about the allegations because of A.O.'s recent behavior.  On re-direct examination,
Benavides clarified that A.O.'s mother was "reluctant" to believe A.O.'s allegations against
Otto because of A.O.'s recent suicide attempt and hallucinations.  Although A.O. told
Benavides that she had hallucinations and heard voices, A.O. denied hearing voices or
hallucinating during her interview with Benavides.  Benavides testified that she did not
believe that A.O. was lying or that A.O. was hallucinating. (6)  According to Benavides, A.O.
displayed "the typical reactions of a teenager who had been sexually abused."

B.  A.O.

	A.O., who was twenty years old when Otto's trial was held, testified that she currently
lived in Corpus Christi, Texas with her parents and that four years prior to the trial she lived
in Flour Bluff, Texas with her parents and Otto.  Caroline began home-schooling A.O. when
A.O. entered the ninth grade. (7)

	The State asked A.O. if she had "some problems with some medication," and A.O.
stated that she had thoughts of suicide and hallucinations, such as hearing voices.  When
asked if she remembered telling someone at Driscoll that Otto had sexually abused her,
A.O. responded that she did.  The State asked, "Now, this sexual abuse by your brother,
had this been happening for a lot of years?  Did it start when you were a little girl", and A.O.
replied, "Yes, ma'am."  Then the following exchange occurred:

	[The State]:	And did it go on until maybe a month or so before you went to
the hospital?


	[A.O.]:	Well, just off and on.


	[The State]:	But the last time that it happened was probably about a month
or so before you went to the hospital?


	[A.O.]:	No, ma'am, but it was more months than that.


	[The State]:	But it had been going off and on for a long time, until you were
about how old?


	[A.O.]:	Well, when I went to the hospital, I was 18.


	[The State]:	Um-hum.  So, had it happened when you were 18?


	[A.O.]:	(Pause) Yes, ma'am.


	[The State]:	Had it happened when you were 17?


	[A.O.]:	(Pause) Once, maybe.


	[The State]:	Had it happen [sic] when you were 16?


	[A.O.]:	(Pause) Yes, ma'am.


	[The State]:	What about when you were 15?


	[A.O.]:	(Pause) Maybe.  I'm not sure.


	[The State]:	And what about when you were younger than that, did it happen
when you were younger than that?


	[A.O.]:	Yes, ma'am.


	[The State]:	So, it happened more than one time; is that right?


	[A.O.]:	Yes, ma'am.


	[The State]:	Now, I'm gonna ask you specifically about some of the things
that happened.  Was there ever a time that your brother's
private touch [sic] your private?


	[A.O.]:	(Pause) Maybe.


	[The State]:	Was there ever a time that he rubbed his private on your
private?


	[A.O.]:	(Pause) Not exactly, but, yes.


	[The State]:	And did that happen more than one time?


	[A.O.]:	Yes, ma'am.


	[The State]:	Was there a time that, actually, his private part went into your
private part just a little bit?


	[A.O.]:	I'm not really sure, but, you know, I felt a poke that hurt a lot.


	[The State]:	And when you say you're not really sure, is it because you didn't
see it happen?


	[A.O.]:	(Pause) Uh, so the--Yes, but, no&nbsp;.&nbsp;.&nbsp;.&nbsp; I mean.&nbsp;.&nbsp;.&nbsp;&nbsp;(Pause)


	[The State]:	(Pause) I know that it's something that you don't wanna talk
about.  Do you remember telling me that one time it went in just
a tad and that you felt a poke and you had never felt anything
like that before.


	[A.O.]:	(Shakes head).


	[The State]:	Could you answer in words?


	[A.O.]:	(No response).


	[The State]:	You were nodding your head, yes.  Can you say the words, so
that she can type down what you're saying.


	[A.O.]:	It was (pause)--I think a sting.


	[The State]:	It was a sting?  And did that happen one time or more than one
time?


	[A.O.]:	Once.


	A.O. then stated that Caroline did not believe her allegations and asked her to recant
them.  A.O. testified that she wanted to "drop" the charges because she did not want Otto
to get in trouble.  A.O. stated that her mother asked her to "take back" the things she said
Otto did to her once.  The State asked, "Did your mom ever write a letter saying she was
you, asking [the State] to drop the charges," and A.O. responded, "Um, (pause) she asked
me about it and I said, 'whatever,' 'cause I did want to drop.&nbsp;.&nbsp;.&nbsp;.'"  A.O. agreed that she did
not want to tell the jury what had happened.  Then the following colloquy occurred:

	[The State]:	So, what you told the jury, let me be sure I understand, is that
these things happened over a long period of time, but it
happened almost every year.  From about how old?


	[A.O.]:	Five.


	[The State]:	And there were times that you said that his private would touch
your private?


	[A.O.]:	(No response).


	[The State]:	It would be up against your private part?


	[A.O.]:	(Pause)  Not exactly.


	[The State]:	What do you mean by that?


	[A.O.]:	(Pause)  Just not--not that.


	[The State];	If--if you used your hand, could you show us what--what did
happen, with one hand using the other hand?


	[A.O.]:	(Indicating) Just above.


	[The State]:	Above your private?  But it would be his private above your
private?


	[A.O.]:	(Shakes head).


	[The State]:	And then you talk about that one time that you felt a stinging.


	[A.O.]:	(Shakes head).


		.&nbsp;.&nbsp;.&nbsp;.


	[The State]:	Can you--can you use a word?  She can't take down our head
nods.  Can you say--You were nodding your head, yes, is that
right?


	[A.O.]:	Yes, ma'am.


A.O. testified that the "stinging" happened when they lived in Flour Bluff and that she was
about thirteen or fourteen years old when it happened.  A.O. stated that the sexual abuse
also occurred when she lived in Corpus Christi a few times, but she did not elaborate. 
According to A.O., she informed Caroline that something had happened with Otto but "not
the whole thing," and Caroline said she would talk to Otto.  A.O. also stated that she thought
she had told her mother about it three times, but that she was not really sure.  A.O. testified
that her parents do not believe the allegations against Otto.

	On cross-examination, defense counsel asked, "[A]t one point you signed a, what we
call a 'nonprosecution affidavit,' is that correct?  Do you know what that is?  That is
a&nbsp;.&nbsp;.&nbsp;.&nbsp;that's a document saying that these things never happened and you would like the
state to dismiss the charges.  Do you remember signing that?"  A.O. replied, "Yes, I think
so."  A.O. stated that she could not remember the date she signed the document and that
she does not "remember months."  A.O. testified that she signed the document voluntarily
and that it states that the allegations made by the State against Otto did not occur.

	According to A.O., she had an adverse reaction to some medication and suffered
from hallucinations on possibly two occasions.  A.O. admitted that she had thoughts of
suicide, but denied attempting suicide.  When defense counsel asked if A.O. remembered
telling Benavides that she had never told Caroline that Otto had sexually abused her, A.O.
replied, "Um, I told her I had told her, but I told her, no, I hadn't told her the whole--the
whole thing."  Defense counsel asked if A.O. told Benavides the truth and A.O. responded,
"Um, I did tell her the truth.  It's just I didn't go into detail."  When asked if Otto touched her
private parts over her clothing, A.O. said, "Sometimes."

	On re-direct examination, A.O. stated that she signed the nonprosecution affidavit
because she never said the "things" stated in the indictment.  The State asked, "You never
said that on or about a certain date, [Otto] did then and there intentionally or knowingly
cause your sexual organ to contact his sexual organ, you never said those things, did you?,
A.O. replied, "No, ma'am."  And when the State asked if what she "told the jury about here
and the stuff about the sexual contact that you and [Otto] had, where [Otto] actually
contacted your private part with his private part, and did a lot of other things over a lot of
years, is that the truth&nbsp;.&nbsp;.&nbsp;.&nbsp;?", A.O. replied, "Yes, ma'am."

C.  Sergio Ramirez

	Sergio Ramirez, a detective with the Corpus Christi Police Department, testified that
he interviewed A.O. and Otto. (8)  Detective Ramirez stated that A.O. was crying and "getting
sick to her stomach" when she told him about what Otto had done to her.  A.O. told
Detective Ramirez that when she was about five years old and Otto was seven years old,
Otto began having "sexual intercourse with her against her will and it went on through many,
many years" and that it happened more than fifty times.  On cross-examination, Detective
Ramirez clarified that it was not "full-fledged sexual intercourse" when A.O. was five, but it
was "touching."  Detective Ramirez stated that A.O. recalled an incident, when she was
thirteen, where Otto went into her bedroom, began touching her, and "feeling around her
vagina with his penis."  According to Detective Ramirez, A.O. said, "He punctured my
vagina just a tad" and she told him that about two months prior to his interview with her, Otto
had been "feeling around [her sexual organ] with the penis and his fingers."  The State
asked, "And, of course, she did indicate that that happened on numerous occasions, but
she gave you details of a few?"  Detective Ramirez replied, "Correct."

	Detective Ramirez testified that when he interviewed Otto, "there was a lot of denial"
and then "it got to a certain point where he said yes, you know, there was a lot of incidents,
contact, touching and things like that."  The State asked, "Did you find that the [offenses]
involved sexual contact with a child under the age of 14?" and Detective Ramirez answered,
"Yes."  The State asked "Did you also find that there was sexual contact with a child under
the age of 17?"  Detective Ramirez replied, "Correct."

D.  Otto's Interview with Detective Ramirez

	The State played a videotaped recording of Otto's interview with Detective Ramirez
in its entirety. (9)  In the video, Detective Ramirez outlines three incidents that A.O. described
to him.  First, A.O. told Detective Ramirez that Otto first sexually abused her when she was
five years old.  The second incident occurred when A.O. was thirteen, and Otto rubbed his
penis on her vagina and "accidently" penetrated her vagina.  Finally, A.O. stated that the
third incident happened a few months before A.O. went to Driscoll.  A.O. told Detective
Ramirez that two-and-a-half to three months prior to the interview, she and Otto had sex. 
Detective Ramirez informed Otto that A.O. had said that she has been having sex with Otto
"for years."

	Otto stated that A.O. had recent mental issues and claimed that she would "stare"
at the television set and laugh, which was "scary."  In response to the described incidents,
Otto stated that he did not know what A.O. was talking about and that it was "sick."  In
response to questioning about the alleged sexual abuse, Otto recalled an incident occurring
five or six years prior to the interview, when he heard his father say that A.O. was in Otto's
bed with her pants down.  However, Otto asserted that he did not witness the incident
because he was in the bathroom.

	When Detective Ramirez asked Otto about A.O.'s allegation that he sexually abused
her when she was five years old, Otto stated that he did not remember that happening. 
However, Otto later remembered that when he was seven, his parents asked him if he had
ever touched A.O. and that he had said, "No."  In the video, Otto denied the allegations and
stated that "it" never happened.  Detective Ramirez also relayed A.O.'s statement that Otto
forced her to engage in the sexual encounters, that he had sex with her three months prior
to the interview, and that it happened a lot.  According to Detective Ramirez, A.O. claimed
that it happened more than ten times; however, it was not always "the whole sexual
intercourse" and sometimes was only touching and fondling.  Otto told Detective Ramirez
that it never happened.

	After Detective Ramirez told Otto that he did not believe him, Otto stated that he was
"willing to admit" that he does not remember what happened when he was seven years old
and maybe something did happen then.  Otto reiterated that nothing happened except with
"a huge question mark" over the incident when he was seven.  When Detective Ramirez
asked Otto what he believed happened when A.O. was five and he was seven, Otto stated
that he did not know.  Detective Ramirez asked Otto if there was a time that he
"experimented" with A.O., and Otto replied, "probably" one time that he could remember
when A.O. was eight years old.  Otto stated that all he could remember was that A.O. had
a belt.  Detective Ramirez asked if the experimentation was sexual, and Otto said, "No." 

	Detective Ramirez then asked Otto if he remembered getting on top of A.O. and
"rubbing" her when she was thirteen.  Otto did not respond.  Otto then stated that he
believed that he has had enough punishment for "something" that happened ten or thirteen
years ago.  Otto also explained he was involved with the church and asked Detective
Ramirez to imagine if something he had done when he was "a little kid" resurfaced. 
Detective Ramirez stated that Otto had concerns about revealing what happened, but that
Otto was no longer saying it did not happen.  Detective Ramirez then said, "So, obviously
something happened" and "By not telling me, you're telling me something happened."  Otto
appears to agree with Detective Ramirez.  Otto then mentions that he may want to "cut a
deal" and that he was "balancing the risks."

	Detective Ramirez again asked Otto what happened when A.O. was thirteen years
old, and Otto replied, "I'm weighing the risks.  Fifteen and thirteen."  When Detective
Ramirez again asked Otto what happened, Otto replied, "I'll give you the experimenting, but
nothing else."  Detective Ramirez asked Otto "What experimenting?" and Otto said,
"Everything that's down there&nbsp;.&nbsp;.&nbsp;.&nbsp;except for the last one," clearly referencing Detective
Ramirez's report. (10)  Otto clarified that the "last one" was the incident that A.O. claimed
occurred a few months prior to the interview.  Otto then stated that the last time it happened
was when A.O. was thirteen.  Detective Ramirez asked, "What happened?" and Otto said,
"God forgive me&nbsp;. .&nbsp;.&nbsp;every time it happened it was consensual.  When she said enough, it
was enough."  Otto denied that there was kissing, penetration of A.O.'s vagina with his
penis, or oral sex, but agreed that there was "fondling and touching" with their clothes on.

	Otto stated that "things" happened "too many times" and when Detective Ramirez
asked him to give a number, Otto stated that it happened more than once and more than
five times.  Detective Ramirez again stated that A.O. said that Otto "rubbed" his penis
"between [A.O.'s] legs" and vagina and his penis penetrated her vagina.  Detective Ramirez
asked what Otto remembered about that incident and Otto replied, "I don't."  Otto claimed
that they did not take off their clothes.

	When Detective Ramirez asked, "How did you rub your penis on her vagina," Otto
replied, "the zipper."  Detective Ramirez asked, "Just through the zipper," and Otto nodded
his head in agreement.  Otto stated that when A.O. told him to stop and leave, he did and
that he did not know why A.O. claimed there was penetration.  When asked if there was
ejaculation, Otto replied that he was not sure.  When Detective Ramirez asked if the
encounters were consensual, Otto said that "No was no."  When asked to elaborate about
how the encounters began, Otto explained that he would be watching movies with A.O. and
"whatever."  Detective Ramirez stated that he understood that they were watching movies
but inquired as to whether he started touching A.O. or "feeling her out."  Otto replied, "I
guess.  Yeah."  Otto explained that "after that," A.O. would "grab the top of her pants or
whatever."  Detective Ramirez asked who would remove A.O.'s pants, and Otto said that
no one removed her pants.  Detective Ramirez asked if A.O.'s pants were pulled down to
her knees, and Otto nodded in agreement.

	Detective Ramirez again asked if they had intercourse, and Otto said, "No." 
Detective Ramirez asked, "What would go on?" and Otto stated that he would "get his mind
together," "look down," think "this is not supposed to happen," and then get up and leave. 
Detective Ramirez asked, "But at that point what was happening already [unintelligible]
touching with the penis and the vagina around it, rubbing?"  Otto responded "that only
happened twice."

	Otto stated that the last "incident" occurred when A.O. was thirteen years old. 
Detective Ramirez asked if during that time there was a lot of rubbing and touching, and
Otto said, "Apparently that happened."  Detective Ramirez asked Otto if he wore a condom
because A.O. had mentioned something about a condom; Otto stated that there was "no
need" for a condom.  Detective Ramirez asked if Otto did not need a condom because there
was only rubbing, and Otto replied, "Yeah."  Otto claimed that after the family moved to
Corpus Christi, when A.O. attempted to "start something," he would "get up and leave."

III.  Standard of Review and Applicable Law

	In conducting a legal sufficiency review, we view the relevant evidence in the light
most favorable to the verdict to determine whether a rational trier of fact could have found
the essential elements of the crime beyond a reasonable doubt. (11)  We do not reevaluate the
weight and credibility of the evidence, and we do not substitute our own judgment for the
trier of fact. (12)  Instead, we consider whether the jury reached a rational decision. (13)

	In a factual sufficiency review, we review the evidence in a neutral light to determine
whether the evidence is so weak that the jury's verdict seems clearly wrong and manifestly
unjust or against the great weight and preponderance of the evidence. (14)  This Court will not
reverse the jury's verdict unless we can say, with some objective basis in the record, that
the great weight and preponderance of the evidence contradicts the verdict. (15)

	Both legal and factual sufficiency are measured by the elements of the offense as
defined by a hypothetically correct jury charge. (16)  A person commits the offense of
aggravated sexual assault of a child if the person intentionally or knowingly causes the
sexual organ of a child to contact the sexual organ of another person, including the actor,
and the victim is younger than fourteen years old. (17)  A person commits sexual assault of a
child if he intentionally or knowingly "causes the sexual organ of a child to contact or
penetrate the mouth, anus, or sexual organ of another person, including the actor." (18)  A
child is defined as a person under the age of seventeen. (19)  A person commits the offense
of prohibited sexual conduct if "the person engages in sexual intercourse or deviate sexual
intercourse with another person the actor knows to be, without regard to legitimacy&nbsp;.&nbsp;. .&nbsp;the
actor's brother or sister of the whole or half blood or by adoption." (20)

IV.  Discussion

	By ten issues, Otto challenges the legal and factual sufficiency of the evidence
supporting his convictions for all five counts.

A.  Counts One and Two

	1.  Legal Sufficiency

	By his first and second issues, Otto contends that the evidence is legally insufficient
to support his conviction for two counts of aggravated sexual assault of a child.  Specifically,
Otto argues that there is no evidence of a discrete genital-to-genital contact which occurred
when A.O. was under the age of fourteen and that A.O.'s "reports of generic undifferentiated
acts&nbsp;.&nbsp;. .&nbsp;are insufficient to prove a discrete criminal offense which happened at one discrete
moment of time."

	A.O. testified that on one occasion when she was thirteen, Otto's "private" was above
her "private" and she felt a "sting."  Otto acknowledged that his penis touched or rubbed
A.O.'s vagina twice and that the abuse ended when she was thirteen.  Detective Ramirez
testified that A.O. stated that when she was thirteen, Otto went into her bedroom, began
"touching" her, "feeling around her vagina with his penis," and that Otto "punctured her
vagina just a tad."  In the video, Detective Ramirez informed Otto that A.O. said that when
she was thirteen years old, Otto rubbed his penis on her vagina and "accidently" penetrated
her vagina.  In the video, Otto tells Detective Ramirez that he will admit that he and A.O.
"experimented," which included everything written in Detective Ramirez's report except for
the incident occurring a few months before A.O. attempted suicide.  Otto acknowledged that
A.O.'s pants were around her knees when the sexual encounters occurred.  Otto claimed
that the sexual abuse happened when A.O. was between the ages of six and thirteen.  From
this evidence, the jury could have reasonably inferred that Otto caused A.O.'s sexual organ
to contact his sexual organ on two occasions while A.O. was under the age of fourteen.

	Count one alleged that Otto caused A.O.'s sexual organ to contact his sexual organ
on or about July 1, 2000, when A.O. was under fourteen years old.  Count two alleged that
Otto caused A.O.'s sexual organ to contact his sexual organ on or about July 1, 2001, also
when A.O. was under fourteen years old.  Viewing the evidence in the light most favorable
to the verdict, we conclude that the jury could have reasonably found that Otto caused
A.O.'s sexual organ to contact his sexual organ when she was under the age of fourteen
on two separate occasions.  Therefore, the evidence is legally sufficient to support Otto's
conviction for counts one and two.  We overrule Otto's first and second issues.

	2.  Factual Sufficiency

	By his sixth and seventh issues, Otto contends that the evidence is factually
insufficient to support his convictions for counts one and two.

	First, Otto argues that the convictions are primarily based on A.O.'s uncorroborated
testimony. However, the testimony of a child sexual abuse victim alone is sufficient to
support a conviction for aggravated sexual assault. (21)  Therefore, the State did not need to
provide evidence corroborating A.O.'s testimony.  Furthermore, Otto admitted that he
"touched" or "rubbed" A.O.'s vagina with his penis twice when A.O. was under the age of
fourteen.

	 Next, Otto argues that A.O. was unable to recall and articulate the times, places, and
nature of the sexual conduct.  A.O. did testify that she felt a "sting" when Otto put his private
just above her private when she was thirteen or fourteen years old.  Furthermore, Otto
stated that the "touching" or "rubbing" occurred twice and that the sexual abuse stopped
when A.O. was thirteen years old.  Next, Otto states that A.O.'s testimony that he began to
abuse her when she was five years old is implausible and does not comport with human
experience; however, the State did not charge Otto with sexually abusing A.O. when she
was five years old.  Furthermore, Otto admitted that the sexual encounters occurred when
A.O. was between the ages of six and thirteen.

	Finally, Otto argues that although the sexual abuse occurred in the family's home,
neither parent ever observed the conduct; A.O.'s testimony is contradictory; A.O.
"repudiated" her statement to police when she signed and presented the nonprosecution
statement to the State; Otto recanted, under oath, the statements he made in the video (22);
Otto's girlfriend and pastor "vouched" for his character; no witnesses were called to vouch
for A.O.'s credibility; and Otto denied, under oath, A.O.'s allegations.  As the sole judges of
the witnesses' credibility and the weight to be given to the evidence, the jury was free to
believe some of the testimony and disbelieve other testimony. (23)  Here, the jury did not
believe Otto's testimony, and instead chose to believe A.O.'s testimony, Benavides's
testimony, Detective Ramirez's testimony, and the statements Otto made in the video.

	Therefore, viewing the evidence in a neutral light, we conclude that the evidence is
not so weak that the jury's verdict with respect to counts one and two seems clearly wrong
and manifestly unjust or against the great weight and preponderance of the evidence. (24)  The
evidence is factually sufficient.  We overrule Otto's sixth and seventh issues.

B.  Count Three (25)

	By his third and eighth issues, Otto contends that the evidence is legally and factually
insufficient to support his conviction for count three--sexual assault of a child--because
there is "no evidence of a discrete genital[-]to[-]genital incident" occurring when A.O. was
under seventeen years old.

	Count three alleged that Otto caused his sexual organ to contact A.O.'s sexual organ
on or about October 21, 2002, when A.O. was under the age of seventeen.  The evidence
presented showed that Otto caused his penis to contact A.O.'s vagina on two specific
occasions when A.O. was under the age of fourteen.  A.O. testified that Otto had sexually
abused her "off and on" and that it happened when she was sixteen and under the age of
fifteen; however, she did not state what abuse occurred during that period of time. 
Benavides testified that A.O. told her she was sexually abused on a regular basis by Otto
since A.O. was five years old and that Otto penetrated A.O. vaginally and would forcibly
have sex with A.O. on many occasions.  Otto admitted that the sexual abuse occurred when
A.O. was between the ages of six and thirteen.

	Viewing the evidence in the light most favorable to the verdict, we conclude that the
jury could have reasonably found that Otto had sex with A.O., and therefore caused his
penis to contact A.O.'s vagina, when A.O. was under the age of seventeen.  Therefore, the
evidence was legally sufficient to support the jury's verdict.  Furthermore, viewing the
evidence in a neutral light, we conclude that the evidence is not so weak that the jury's
verdict seems clearly wrong and manifestly unjust or against the great weight and
preponderance of the evidence to support Otto's convictions for count three. (26)  The
evidence is factually sufficient.  We overrule Otto's third and eighth issues.

C.  Counts Four and Five (27)

	By his fourth, fifth, ninth, and tenth issues, Otto contends that the evidence is legally
and factually insufficient to support his conviction for counts four and five because the State
failed to prove the offense occurred within the applicable statute of limitations.  The State
responds that Otto has forfeited his statute of limitations argument.  We agree.

	"[A] statute of limitations claim is a defense" that the defendant forfeits "if it is not
asserted at or before guilt/innocence stage of trial." (28)  Here, Otto did not raise the limitations
defense in the trial court. (29)  Therefore, Otto forfeited the defense. (30)  We overrule Otto's
fourth, fifth, ninth, and tenth issues.


V.  Conclusion

	We affirm the judgment of the trial court.		

	

Do not publish.					

See Tex. R. App. P. 47.2(b).


Delivered and filed the

29th day of July, 2010

1.  See Tex. Penal Code Ann. § 22.021 (Vernon Supp. 2009).
2.  See id. § 22.011 (Vernon Supp. 2009).
3.  See id. § 25.02 (Vernon Supp. 2009).
4.  Originally, the grand jury indicted Otto for eleven separate offenses; however, the State eventually
dropped six of those charges.
5.  Benavides stated that the hospital takes patients from infancy to the age of twenty-one.
6.  The trial court allowed Benavides's testimony after overruling defense counsel's objection.
7.  Caroline also home-schooled Otto.
8.  Otto testified that he was twenty-two years old.
9.  During the trial, Otto objected to the video on the basis that his statement was involuntary due to
coercion.  The trial court found that Otto's statement was voluntary and admitted the video into evidence.  On
appeal, Otto does not challenge the admission of the video.
10.  Detective Ramirez's report is not part of the record.
11.  Hooper v. State, 214 S.W.3d 9, 13 (Tex. Crim. App. 2007) (citing Jackson v. Virginia, 443 U.S. 307,
318-19 (1979); Powell v. State, 194 S.W.3d 503, 506 (Tex. Crim. App. 2006); Guevara v. State, 152 S.W.3d
45, 49 (Tex. Crim. App. 2004)); Escamilla v. State, 143 S.W.3d 814, 817 (Tex. Crim. App. 2004).
12.  King v. State, 29 S.W.3d 556, 562 (Tex. Crim. App. 2000) (en banc); Beckham v. State, 29 S.W.3d
148, 151 (Tex. App.-Houston [14th Dist.] 2000, pet. ref'd).
13.  Beckham, 29 S.W.3d at 151.
14.  Watson v. State, 204 S.W.3d 404, 414-15 (Tex. Crim. App. 2006).
15.  Id. at 417.
16.  Malik v. State, 953 S.W.2d 234, 240 (Tex. Crim. App. 1997); Adi v. State, 94 S.W.3d 124, 131 (Tex.
App.-Corpus Christi 2002, pet. ref'd).
17.  Tex. Penal Code Ann. § 22.021(A)(1)(B)(iii).
18.  Id. § 22.011(a)(2)(C). 
19.  Id. § 22.011(c)(1).
20.  Id. § 25.02.
21.  Tex. Code Crim. Proc. Ann. art. 38.07 (Vernon 2005) (providing that "[a] conviction under Chapter
21, Section 22.011, or Section 22.021, Penal Code, is supportable on the uncorroborated testimony of the
victim of the sexual offense if the victim informed any person, other than the defendant, of the alleged offense
within one year after the date on which the offense is alleged to have occurred," but if the victim is under the
age of seventeen at the time of the alleged offense, "[t]he requirement that the victim inform another person
of an alleged offense does not apply"); Ozuna v. State, 199 S.W.3d 601, 606 (Tex. App.-Corpus Christi 2006,
no pet.) ("The testimony of a child sexual abuse victim alone is sufficient to support a conviction for
aggravated sexual assault.") (citing Tex. Code Crim. Proc. Ann. art. 38.07).
22.  At trial, Otto testified that he "merely stated" that the sexual abuse happened after Detective
Ramirez promised that A.O. would receive "help" and because he just "wanted to get out of there."  Otto
denied all of the allegations made against him.
23.  See Tex. Code Crim. Proc. Ann. art. 38.04 (Vernon 1979); Lancon v. State, 253 S.W.3d 699, 707
(Tex. Crim. App. 2008).
24.  See Watson, 204 S.W.3d at 414-15.
25.  Otto refers to count three of the jury charge as count five as it was charged in the indictment;
however, we refer to it as count three, as alleged in the jury charge and set forth in the judgment.
26.  See Watson, 204 S.W.3d at 414-15.
27.  Otto refers to count four of the jury charge as count eight and count five as count nine, as they were
charged in the indictment; however, we refer to them as counts four and five as alleged in the jury charge and 
set forth in the judgment.
28.  Floyd v. State, 983 S.W.2d 273, 274 (Tex. Crim. App. 1998) (citing Proctor v. State, 967 S.W.2d
840, 844 (Tex. Crim. App. 1998)).
29.  A defendant may assert the statute of limitations defense before trial by filing a motion to dismiss
under article 27.08(2) of the Texas Code of Criminal Procedure.  Proctor, 967 S.W.2d at 844.  At trial, if there
is some evidence before the jury that the prosecution is barred by the statute of limitations, a defendant may
assert the defense by requesting a jury instruction on limitations.  Id.
30.  See Floyd, 983 S.W.2d at 274.

